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            EXHIBIT 166
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From:            Karen Robinson
To:              Jamie Feldman
Cc:              Blaine Vella; gail.knudson@gmail.com; Paula Neira; jgreen; Lin Fraser; education SOC 8
Subject:         Re: Disclosure Forms to Blaine
Date:            Friday, December 21, 2018 3:44:19 PM



It is important that competing interests are disclosed. Competing interests include financial
and non-financial interests and relationships that might be considered likely to interfere with,
or could reasonably be perceived as interfering with, full and objective decision-making and
presentation of guidelines or which readers or users of the guideline might reasonably wish to
know. Examples to disclose include being an investigator on studies likely to be considered in
developing the recommendations, or being a member of a group that did or may issue policy
or recommendations related to SOC8 work. We would expect many, if not most, SOC8
members to have competing interests.

Disclosure, and any necessary management of potential conflicts, should take place prior to
the selection of guideline members. Unfortunately, this was not done here but the decision
was made to adhere as much as possible to best practice for guideline development. To that
end, disclosures are being collected now from SOC8 members. The SOC8 chairs will review all
forms and, as needed, bring any issues forward to the Board.

I know that disclosure forms are challenging, or even painful, to complete. I can't speak to any
technical issues with spacing on the PDF form. A solution may be to submit a supplementary
sheet.

thanks,
Karen

From: Jamie Feldman <feldm010@umn.edu>
Sent: Friday, December 21, 2018 9:21:10 AM
To: Karen Robinson
Cc: Blaine Vella; gail.knudson@gmail.com; Paula Neira; jgreen; Lin Fraser; education SOC 8
Subject: Re: Disclosure Forms to Blaine
Do you have a copy of a similar disclosure form from guideline/organization of similar
interdisciplinary breadth and worldwide scope? By interdisciplinary, I mean psychology,
legal, ethics, social sciences topics and recommendations in the work, as well as professionals
in these areas?

The above makes WPATH fairly unique compared to most medical guidelines, which are
dealing with a relatively narrow medical topic (compared to all of trans health), and involve a
fairly limited number of closely related fields, and professsionals.
Other concerns:
1. Conflict of interest is a well defined concept with specific implications for
author/participant, Almost all the questions about "nonfinancial conflict of interest" are so
broad and are encompassing of the author's past and present affiliations, publications, public


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speech, affiliations of the family;any advocacy statements, etc. It does not fall into any
understanding of "conflict of interest" as previously understood.. It does fall into an attempt to
outline potential bias, but in the topic of trans health, one would need to go much into much
greater depth, include private information (gender, sexual orientation, religion, etc) to really be
transparent about bias. It would be helpful if some explanation of what the goal of this breadth
of information was, and how one intends to use it--will it be published as an appendix to the
SOC? If so, then I would need to re-submit my answers.
2. The questions themselves in the non financial conflict of interest section are worded so
broadly, that a description of that interest would take pages in many cases, as it may cover a
persons entire professional career. It would be helpful to give an example of how much detail
or what kind of detail is desired, from the point of view of various people who could be
responding (MD, PhD psychologists, advocacy professionals, etc)
3. Unlike other medical guidelines, trans health care is a socially and politically charged issue,
and often subject to laws and policies outside the authors' control. These also can change
anytime in the future, prior or after the SOC8 are published. The question about the author
now or in the future subject to being in conflict to the SOC8 recommendations is impossible
for many of use to answer "no" to.
4. Remember, that even though some of us are only involved in 1 or 2 chapters, our practice
overlaps many or most chapters of SOC8. None of the recommendations are written yet, so to
state that I would not otherwise be in conflict with the SOC8 recommendations when I don't
know them is not an option.

Since this document is a departure from standard conflict of interest documents, I strongly
recommend rewriting it and having it signed when the SOC8 is closer to a full rough draft that
every one has read. If you still wish to use this version, then I recommend explaining why,
how to fill it and in what detail---with an example(s), and how it will be used in the context of
SOC8. I would again recommend not doing it until there is more of a document that everyone
can read.

Jamie Feldman
                                                            REDACTED
On Thu, Dec 20, 2018 at 9:22 PM Karen Robinson <                           wrote:
 All -

  I drafted the disclosure form for consideration by the SOC8 Chairs and the WPATH Board.
  The form was developed based on standard disclosure forms for guideline panels and other
  groups doing similar work. I would also refer you to the standards for guideline
  development, such as the principles from the IOM, outlining the importance of disclosure of
  interests (http://www.nationalacademies.org/hmd/Reports/2011/Clinical-Practice-
  Guidelines-We-Can-Trust.aspx see Standard 2).

  Other than what seems like a part of this email chain, I have not seen any comments. Let me
  know if there are specific concerns or questions that I may address.

  thanks,
  Karen



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From: Blaine Vella <blaine@wpath.org>
Sent: Thursday, December 20, 2018 8:54:19 PM
To: gail.knudson@gmail.com
Cc: jgreen; Lin Fraser; feldm010@umn.edu; Education SOC 8
Subject: Re: Disclosure Forms to Blaine
The form was developed by Karen Robinson, our SOC methodologist and was reviewed and
approved by the SOC8 co-chairs and the WPATH Board of Directors.

I have also shared Paula’s concerns / recommendations with the same group.

Best regards
Blaine
Mrs. Blaine Vella
Associate Director
WPATH
1061 East Main Street, Suite 300 |
East Dundee, IL 60118
Office: 847-752-5328
Fax: 224-633-2166
Email: blaine@wpath.org

On Dec 20, 2018, at 8:51 PM, Gail Knudson <gail.knudson@gmail.com> wrote:


      The form originated from Karen and she expects that people will have conflicts
      of interest. The point is not to disqualify people, it is to promote transparency.

      Blaine - please correct me if I am wrong.

      I will send along a copy of mine in another email.

      Thank you

      Gail



      Sent from my iPhone




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    Sent from my iPhone
    On Dec 20, 2018, at 3:13 PM, Jamison Green <jgreenphd1@gmail.com> wrote:


         I agree; the form was difficult for me, as well, and as I worked on it
         I actually thought the only reason I was able to summarize my
         potential conflicts was that I am NOT a clinician. I'm curious to
         know where the form originated, too. And I also have had problems
         with saving the form and having my input lost when I reopened the
         PDF file, which I've already communicated to Blaine.

         Jamison

         On Thu, Dec 20, 2018 at 3:50 PM Lin Fraser <linfraser@gmail.com>
         wrote:
           Blaine, can you respond please? I have no idea..

           Sent from my iPhone

           On Dec 20, 2018, at 3:31 PM, Jamie Feldman
           <feldm010@umn.edu> wrote:


                   Who developed this form?
                   I would need to describe my entire practice,
                   academic and advocacy history and anticipated
                   future history in order to fill out this form.
                   Please advise.
                   Jamie Feldman MD
                   On 12/19/2018 10:04 AM, Lin Fraser wrote:

                         Dear Colleagues-
                         If you haven’t already done so, please
                         sign the disclosure form and send to
                         Blaine.
                         Lin & Gail


                               Begin forwarded message:

                               From: Blaine Vella


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                         <blaine@wpath.org>
                         Subject: Please Remind
                         Your Chapter Members
                         Date: December 19, 2018
                         at 7:40:47 AM PST
                         To: SOC 8 Chapter Leads
                         <soc8chapterleads@wpath.org>

                         Dear SOC8 Chapter Leads
                         To complete and send me
                         their signed Disclosure forms.
                         Here is a copy, if you want to
                         include as well.
                         Thanks much
                         Blaine




                --
                Jamie Feldman MD, PhD
                Dept. of Family Medicine and
                Community Health
                University of Minnesota




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From:           Karen Robinson
To:             Blaine Vella; gail.knudson@gmail.com; Paula Neira
Cc:             jgreen; Lin Fraser; feldm010@umn.edu; education SOC 8
Subject:        Re: Disclosure Forms to Blaine
Date:           Thursday, December 20, 2018 10:22:23 PM



All -

I drafted the disclosure form for consideration by the SOC8 Chairs and the WPATH Board. The
form was developed based on standard disclosure forms for guideline panels and other groups
doing similar work. I would also refer you to the standards for guideline development, such as
the principles from the IOM, outlining the importance of disclosure of interests
(http://www.nationalacademies.org/hmd/Reports/2011/Clinical-Practice-Guidelines-We-Can-
Trust.aspx see Standard 2).

Other than what seems like a part of this email chain, I have not seen any comments. Let me
know if there are specific concerns or questions that I may address.

thanks,
Karen




From: Blaine Vella <blaine@wpath.org>
Sent: Thursday, December 20, 2018 8:54:19 PM
To: gail.knudson@gmail.com
Cc: jgreen; Lin Fraser; feldm010@umn.edu; Education SOC 8
Subject: Re: Disclosure Forms to Blaine
The form was developed by Karen Robinson, our SOC methodologist and was reviewed and
approved by the SOC8 co-chairs and the WPATH Board of Directors.

I have also shared Paula’s concerns / recommendations with the same group.

Best regards
Blaine
Mrs. Blaine Vella
Associate Director
WPATH
1061 East Main Street, Suite 300 |
East Dundee, IL 60118
Office: 847-752-5328


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Fax: 224-633-2166
Email: blaine@wpath.org

On Dec 20, 2018, at 8:51 PM, Gail Knudson <gail.knudson@gmail.com> wrote:


     The form originated from Karen and she expects that people will have conflicts of
     interest. The point is not to disqualify people, it is to promote transparency.

     Blaine - please correct me if I am wrong.

     I will send along a copy of mine in another email.

     Thank you

     Gail



     Sent from my iPhone




     Sent from my iPhone
     On Dec 20, 2018, at 3:13 PM, Jamison Green <jgreenphd1@gmail.com> wrote:


            I agree; the form was difficult for me, as well, and as I worked on it I
            actually thought the only reason I was able to summarize my
            potential conflicts was that I am NOT a clinician. I'm curious to know
            where the form originated, too. And I also have had problems with
            saving the form and having my input lost when I reopened the PDF
            file, which I've already communicated to Blaine.

            Jamison

            On Thu, Dec 20, 2018 at 3:50 PM Lin Fraser <linfraser@gmail.com>
            wrote:
              Blaine, can you respond please? I have no idea..

              Sent from my iPhone

              On Dec 20, 2018, at 3:31 PM, Jamie Feldman

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From:            Karen Robinson
To:              Eli Coleman
Cc:              Blaine Vella; Jon Arcelus; Asa Radix; Gail.knudson@vch.ca; Donna Kelly; Taylor O"Sullivan
Subject:         RE: Conflict of Interest Disclosures
Date:            Thursday, August 23, 2018 4:47:00 PM
Attachments:     NHMRC example doi interactive guideline development 140331.pdf
                 NAS Example As2018 BI-COI.docx
                 AHRQ EPCprogram Disclosure Policy and Form 4.12.18v2.pdf


Eli –
It is a little more complicated than adding items to a form. I would suggest the COI/DOI policy and
form is something that will need to be discussed and implemented by the Board.
Below are links to some details about COI and guideline development:
IOM Standards for guidelines: http://www.nap.edu/read/13058/chapter/6#82
Policy paper from Guidelines International Network:
http://annals.org/aim/fullarticle/2450219/guidelines-international-network-principles-disclosure-
interests-management-conflicts-guidelines
I have attached a few examples of forms and can see about tracking down some more, if that would
be helpful.
Again, I am also happy to discuss further.
Thanks
Karen
From: Eli Coleman [mailto:colem001@umn.edu]
Sent: Thursday, August 23, 2018 3:51 PM
                            REDACTED
To: Karen Robinson <
Cc: Blaine Vella <blaine@wpath.org>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Asa Radix
<asa.radix@gmail.com>; Gail.knudson@vch.ca; Donna Kelly <donna@wpath.org>; Taylor O'Sullivan
<taylor@wpath.org>
Subject: Re: Conflict of Interest Disclosures
Karen,
Can you please simply suggest what we should do in addition to what we have already done. It
looks like we need an additional form and signatures. Blaine you will need to figure out how
best to do that.
Thanks
                                                           REDACTED
On Thu, Aug 23, 2018 at 2:47 PM, Karen Robinson <                        wrote:
  We had an email exchange about the COI/DOI in July. I have copied my email from that time
  below. I don’t recall any response and the forms sent earlier today are the same as those
  reviewed in July. I am happy to chat further. Thanks, Karen
  From July:

                                                                          REDACTED
  On Jul 12, 2018, at 12:58 PM, Karen Robinson <                                               wrote:

  Blaine –
  As noted in the methodology document, disclosures or conflicts of interest should be
  collected from all involved. Typically this is done as members are nominated as potential
  conflicts may cause some to be not selected as members. Collection early also facilitates
  ensuring that there is a balance amongst the group. I didn’t see anything in the document
  you attached about conflicts and it does not contain any disclosures of (potential) conflicts.
  It also seems to be limited to Leads. All Chapter Members, the Chairs, and I should

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  complete the COI/DOI.
  Also, on another note of clarification, the language about publishing “as systematic
  reviews” is incorrect. Chapter Leads and members can and should consider publishing a
  background paper, as noted in this document. However, these will not be reports of
  systematic reviews. The ERT may publish separate reports of systematic reviews.
  Thanks,
  Karen
  From: Eli Coleman [mailto:colem001@umn.edu]
  Sent: Thursday, August 23, 2018 3:41 PM
  To: Blaine Vella <blaine@wpath.org>
                              REDACTED
  Cc: Karen Robinson <                       Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Asa Radix
  <asa.radix@gmail.com>; Gail.knudson@vch.ca; Donna Kelly <donna@wpath.org>; Taylor
  O'Sullivan <taylor@wpath.org>
  Subject: Re: Conflict of Interest Disclosures
  Thanks Blaine. Karen, is this sufficient?
  On Thu, Aug 23, 2018 at 2:25 PM, Blaine Vella <blaine@wpath.org> wrote:
    Hi Everyone
    I know there has been some discussion about the COI documents that the leads and
    chapter members have signed. I am attaching the documents here.
    Please let me know if we are adding an addendum for everyone to sign and if so who is
    putting this together?
    Thanks
    Blaine



  --
  Eli Coleman, PhD
  Academic Chair in Sexual Health
  Professor and Director




--
Eli Coleman, PhD
Academic Chair in Sexual Health
Professor and Director




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                                                     BI/COI FORM 1


                      The National Academies of
                SCIENCES · ENGINEERING · MEDICINE


                 BACKGROUND INFORMATION
                                 AND
      CONFIDENTIAL CONFLICT OF INTEREST DISCLOSURE
            For Studies Related to Government Regulation


NAME: __
TELEPHONE: ___

ADDRESS: _


EMAIL ADDRESS: ___

CURRENT EMPLOYER: _

COMMITTEE: _


       There are two parts to this form, Part I Background Information, and
Part II Confidential Conflict of Interest Disclosure. Complete both parts,
sign and date this form on the last page, and return the form to the
responsible staff officer for the project and committee activity to which this
form applies. Retain a copy for your records.




PART I BACKGROUND INFORMATION

                              INSTRUCTIONS


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         Please provide the information requested below regarding relevant organizational
affiliations, government service, public statements and positions, research support, and
additional information (if any). Information is "relevant" if it is related to -- and might
reasonably be of interest to others concerning -- your knowledge, experience, and
personal perspectives regarding the subject matter and issues to be addressed by the
committee activity for which this form is being prepared. If some or all of the requested
information is contained in your curriculum vitae, you may if you prefer simply attach
your CV to this form, supplemented by additional responses or comments below as
necessary.

I. ORGANIZATIONAL AFFILIATIONS. Report your relevant business relationships
(as an employee, owner, officer, director, consultant, etc.) and your relevant remunerated
or volunteer non-business relationships (e.g., professional organizations, trade
associations, public interest or civic groups, etc.).




II. GOVERNMENT SERVICE. Report your relevant service (full-time or part-time)
with federal, state, or local government in the United States (including elected or
appointed positions, employment, advisory board memberships, military service, etc.).




III. RESEARCH SUPPORT. Report relevant information regarding both public and
private sources of research support (other than your present employer), including sources
of funding, equipment, facilities, etc.


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IV. PUBLIC STATEMENTS AND POSITIONS. List your relevant articles, testimony,
speeches, etc., by date, title, and publication (if any) in which they appeared, or provide
relevant representative examples if numerous. Provide a brief description of relevant
positions of any organizations or groups with which you are closely identified or
associated.




V. ADDITIONAL INFORMATION. If there are relevant aspects of your background or
present circumstances not addressed above that might reasonably be construed by others
as affecting your judgment in matters within the assigned task of the committee or panel




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on which you have been invited to serve, and therefore might constitute an actual or
potential source of bias, please describe them briefly.




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                                                                                                      Print Form


AHRQ Evidence-based Practice Center Policy on Financial and Nonfinancial
Interests

Background and Purpose of Policy
To maintain public confidence in the scientific integrity and credibility of work produced by the EPC
Program, it is essential that all aspects of the process and methodological approach on which the Evidence-
based Practice Centers evidence reports rests are clear and respected. To ensure the credibility of evidence
reviews and additional reports put forth on behalf of the EPC, objectivity must be maintained and the risk
of bias reduced in the framing of questions and application of methods. Bias threatens the validity of clear
and cogent findings and jeopardizes the public's trust in science and reporting.
While it is impossible to eliminate the potential for bias completely, policies and procedures can reduce the
risk for bias and improve credibility and trust in the final product. Since its inception, the EPC Program has
had an established policy for reducing the risk of bias from financial and non-financial interests. The
Institute of Medicine defines conflict of interest (COI) as “a set of circumstances that creates a risk that
professional judgment or actions regarding a primary interest will be unduly influenced by a secondary
interest”1. While COI is not an exact proxy for potential for bias, it is a concrete measure that can be
identified or declared. While both financial and non-financial interests may influence the judgment of an
individual synthesizing the evidence on a particular subject matter, use of financial COI as a proxy and
measure of bias is a more established and accepted practice than collection of non-financial COI.
This document updates the previous policy and is intended for EPC reference and use. All individuals
participating in a review (including the EPC Core Team, EPC Key Informants, EPC Technical Expert
Panel members, and EPC Invited Peer Reviewers) should complete the Disclosure Form for COI in
Appendix A.
The previous disclosure form, in use since the inception of the program, required individuals to self-report
and perceived COI as mandated by federal regulations described in Title 45 Code of Federal Regulations
(CFR), Part 94. However, open response resulted in high variability with both over- and under-reporting at
times. In 2009, the International Committee of Medical Journal Editors (ICMJE) developed a COI
reporting form for authors submitting manuscripts. The ICMJE form provided specific examples for which
individuals needed to report any relevant financial interests, rather than leaving it open-ended for
individual interpretation. Appendix A adapts this form for prospective use in conducting EPC projects,
rather than for retrospective COI evaluation in a manuscript submission.
Both the previous form and the ICMJE form request disclosure of other non-financial COI, but provide
little specific guidance and generally leave it up to individual judgment. Likewise, the Institute of
Medicine (IOM) Standards of Systematic Reviews (2011) further emphasized the importance of non
financial COI, but also provided little guidance on how to identify non-financial COE that pose the greatest
risk of bias.
The EPC Program assembled a workgroup in 2012 to develop an approach to identifying and managing
non-financial COI. Although still in progress at the time of this update, the Disclosure Form (Appendix A)
incorporates and adapts the work group's specific questions to help individuals identify non-financial COI.
It is important to note continued debate over whether non-financial COI, such as professional interests,
relationships, and activities, automatically increase the risk of bias and whether the benefits of increased
expertise or increased partnership by an organization that the individual represents may offset some of
these risks.




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Definitions of Varying Roles:
Different roles of individuals participating in the EPC report may necessitate different management of COI
based on level of responsibility in making judgments and conclusions in the project. However, all must
disclose COI related to the subject matter, including (as relevant):
    a) EPC Core Team (including the EPC Director and Lead Investigator)
    b) EPC Key Informants
    c) EPC Technical Expert Panel
    d) EPC Invited Peer Reviewers


EPC Core Team:
The EPC core team includes anyone who participates meaningfully in any of the key steps of the
systematic review process such as:
      a) Design and execution of the literature search strategy
      b) Decisions on the final inclusion and exclusion criteria
      c) Decisions on which studies shall be included or excluded from the evidence report or other
           product (screening of abstracts and full-text studies)
      d) Abstraction of information from eligible studies
      e) Analyses of the evidence
      f) Grading or rating the quality of studies and body of evidence
      g) Writing or editing any portion of the evidence report or other product
      h) Administrative or logistical tasks

Decisions about who comprises the Core Team for COI purposes should be made based on the
participation in one or more tasks as listed above. It is recognized that Core Team members may include
different sorts of individuals for different projects or different EPCs including faculty, staff, students,
fellows, librarians, and editors. This would also include any subcontractors participating in the conduct of
the EPC project.

EPC Director:
The EPC Director is Principal Investigator for EPC-related work and is responsible for identifying and
assembling the EPC Core Team. In many cases, the EPC Director may designate one person as the Lead
Investigator and delegate some responsibilities as described below or may assume these responsibilities
him/herself. The EPC Director maintains responsibility for collecting and assessing COI disclosures for the
EPC Core Team members. Although the logistics of gathering COI disclosure forms may be delegated to a
project manager, the EPC Director is responsible for evaluating any disclosed COI and developing a
management plan.
EPC Lead Investigator:
If the EPC Director chooses, he or she may assign a separate Lead Investigator for a particular project.
Either the EPC Director or the designated Lead Investigator leads the Core Team and is the primary person
responsible for the overall design, conduct, or reporting of the systematic review. This person is
responsible for collecting and assessing COI disclosures for Key Informants or Technical Expert Panel
members. Although the logistics of gathering the COI disclosure forms may be delegated to a project
manager, the Lead Investigator is responsible for evaluating any disclosed COI and developing a
management plan. This role may be filled by or shared with the EPC Director.




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EPC Key Informant:
Key Informants are stakeholders who provide input on preliminary research questions, which are used
to develop key questions that will guide the evidence reports on a particular topic. Key Informants are
selected for their unique perspective on a topic and are asked to represent their viewpoints throughout
the course of topic refinement in order to ensure a broad range of input. While the EPC Core Team
considers the input of Key Informants, the key questions are not intended to reflect the consensus
agreement of all Key Informants.

EPC Technical Expert Panel (TEP) Member:
Technical Experts provide clinical and methodological expertise to the EPC Core Team as they are
developing the protocol. This engagement helps to ensure that the report is methodologically rigorous
and reflective of current practice. The TEP members may not participate directly in writing or editing
any portion of the draft or final EPC report and thus the report is not intended to represent the judgments
or conclusions of the TEP.

EPC Invited Peer Reviewers:
The peer reviewer provides written input on the draft report. Because stakeholders and the public have
an opportunity to comment on the draft report through the public comment mechanism, the EPC
Program focuses on specifically inviting independent, unbiased experts to peer review EPC reports.

Disclosure of COI:
The recommended Disclosure Form for COI with instructions can be found in Appendix A.

Time period for financial interests disclosure: The instructions recommend a two year time window: 12
month “look back” period and to project any relationships for the next 12 months. If individuals develop
any new relationships during the duration of their participation in the report, they must update and
resubmit a disclosure form within 7 days. This may affect their role in the project. If an individual's
involvement in the project lasts longer than 12 months, the EPC Director (or Lead Investigator, as
appropriate) will obtain an updated Disclosure Form.

Whose financial interests to disclose: As guided by the Department of Health and Human Services Title
45 Code of Federal Regulations, Part 942, individuals are required at minimum to disclose not only
their own personal financial interests, but those of their spouse or dependent children.

How much financial interest requires disclosure: Thresholds for the amount of financial conflicts of
interest requiring disclosure differ depending on the level of responsibility in making decisions,
judgments, and writing conclusion of the report. The EPC Core Team should report financial interests
cumulatively involving $1,000 or more, while Key Informants, TEP members, or Invited Peer
Reviewers should report financial conflicts which cumulatively total $5,000 or more. For example, if
financial COI from all sources over a two year time window (within the past year and anticipated in the
future 12 months) for the individual, spouse, and dependent children cumulatively total less than $1,000
for EPC Core Team members or less than $5,000 for Key Informants, TEP Members, or Invited Peer
Reviewers, then they do not need to report anything on the Disclosure Form.

What financial interests to disclose: The Disclosure Form identifies 17 specific relationships related to
the subject matter of the EPC report for which individuals must disclose the presence or absence of
financial interests. This should include any ongoing interests, previous interests within the “look back”
period, as well as any anticipated new interests in the ensuing 12 months as described above. For
purposes of this document, individuals should disclose only related interests that apply to the topic of the
EPC project. When listing competing interests, individuals should err on the side of being liberal in the
disclosure.




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According to Title 45 CFR Part 94, financial interests include anything of monetary value that when
aggregated exceeds the minimum threshold value as described above or represents more than a five
percent (5%) ownership interest in any single entity.
What financial interests not to disclose: Financial interests that do not need to be disclosed include:
       ·   Ownership interests in an institution if the institution is an applicant under the Small
           Business Innovation Research (SBIR) program;
       ·   Income from seminars, lectures, or teaching engagements sponsored by public or nonprofit
           entities;
       ·   Income from service on advisory committees or review panels for public or nonprofit
           entities;
       ·   Equity interest that represents less than a five percent ownership interest in any single
           entity, and when aggregated with all other financial interests does not exceed $5,000 (or
           $1,000 for EPC Core Team members) in value.

Disclosing Non-financial Interests
The Disclosure Form and instructions in Appendix A identifies nine specific questions related to non-
financial interests that individuals must answer. The questions are geared to identify entrenched
opinions that may not be open to alternative conclusions given adequate evidence to the contrary and
interests or institutional relationships that are not direct financial COI but may influence or bias the
individual.
Management of COI:
Management of Financial COI
The EPC Core Team is ultimately responsible for making final judgments, decisions, and assessments
and writing the report, and thus must pass a higher standard. EPC Core Team members must not have
related financial COI which cumulatively total greater than $1,000. Depending on the nature of the
financial COI, in some cases these conflicts may be managed by divestment (e.g., selling stock
holdings).
In general, Key Informants, TEP members, and Invited Peer Reviewers should not have financial COI
related to the EPC project cumulatively totaling more than $5,000. However there may be extenuating
circumstances in which a field has a limited number of experts. In these special circumstances, the EPC
and the AHRQ official will ensure that the panel is balanced with individuals of differing opinions to
ensure that not only one perspective is unfairly weighted. They may consider not only the nature of the
COI but also the timing (whether present in the past 12 months or anticipated in the next 12 months).
Other input from individuals with COI may be obtained through specified public comment periods.

Management of Non-financial COI
The Disclosure form asks specific questions in an attempt to identify entrenched opinions or other
influences that are not directly related to financial COI. However, because current understanding is
limited about how to use proxy questions to identify individuals at highest risk of bias without
inappropriately excluding individuals with particularly relevant expertise, many situations of identified
non-financial COI will need to be handled on a case-by-case basis until the field is further developed.




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In general, the EPC and AHRQ need to consider whether the systematic review topic is the subject of
advocacy or policy change, has inter-specialty variations, or is an area with a limited pool of experts. The
existence of advocacy, policy change, or inter-specialty variations may affect the likelihood that institutional
relationships or professional affiliations would increase the risk of bias and thus may be considered a higher
risk for non-financial COI.

Individuals with COI may be either restricted from participating in the review altogether or limited in their
participation to certain aspects of the review. For example, individuals with a specific COI (e.g., authorship
of a particular study) should not be involved in judgment or decision-making regarding any question that
includes that particular study. Alternatively, individuals with a particularly entrenched opinion based on
previously published opinion pieces may better serve as TEP members rather than on the EPC Core Team.
For institutional conflicts, the EPC and AHRQ may choose to institute and implement a clear COI
management policy and procedures. In fields with a limited pool of experts, the EPC and AHRQ may elect
to balance COI across all involved individuals (as in the cases of professional interests or advocacy).

Responsibilities:
Responsibilities of the EPC
Prior to starting the project, the EPC Director and/or designated project manager will obtain a completed
Disclosure Form from each potential member of the Core Team. The EPC Director will submit these forms
to AHRQ along with justification of any issues presented therein prior to starting a project.

The Lead Investigator (or appropriate designee) will collect and review completed Disclosure Forms from
Key Informants and TEP members. The Lead Investigator should provide justification to AHRQ for
participation for inclusion of individuals with COI. Note that Key Informants and TEP members must be
approved by AHRQ via an email confirmation before any individual can participate.

The EPC should update Disclosure Forms for any individual whose involvement in the projects extends
beyond 12 months. The EPC should maintain the Disclosure Forms for 6 years past delivery of the final
report.

Responsibilities of AHRQ:
AHRQ will review the Disclosure Forms for EPC Core Team members, Key Informants, TEP members,
and Invited Peer Reviewers. AHRQ will consider whether any COI can be avoided without a damaging loss
of expert review prior to disqualifying any proposed Key Informant, TEP member, and Invited Peer
Reviewer from participating in the review. Any concerns about potential COI by AHRQ will be discussed
with the EPC Director (for EPC Core Team members), or the Lead Investigator (for Key Informants or TEP
members).

To ensure the transparency and credibility of the EPC program, AHRQ reserves the right to require that an
individual with a COI not participate in the collection or analysis of date or in the writing or review of
report findings or associated translation products. The affected EPC will be given an opportunity to
substitute another investigator in a revised proposal.




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                                            References

1.    Institute of Medicine. (2010). Committee on Conflict of Interest in Medical Research, Education,
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2.   “Responsible Prospective Contractors” Title 45 Code of Federal Regulations, Pt. 94 October 1,
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3.    “Uniform Requirements for Manuscripts Submitted to Biomedical Journals: Ethical Considerations
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     Committee of Medical Journal Editors. http://www.icmje.org/ethical_4conflicts.html. Accessed
     July 2012.

4.    Institute of Medicine. (2011). Finding What Works in Health Care: Standards for Systematic
     Reviews. Washington, DC: National Academies Press. Available at: Institute of Medicine. http://
     www.nationalacademies.org/hmd/~/media/Files/Report%20Files/2011/Finding-What-Works-in-
     Health-Care-Standards-for-Systematic-Reviews/Standards%20for%20Systematic%20Review%
     202010%20Insert.pdf. Accessed July 2012.




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From:           Karen Robinson
To:             Eli Coleman; Jon Arcelus
Cc:             Blaine Vella; Asa Radix
Subject:        RE: SOC8 Disclosure Form
Date:           Tuesday, December 4, 2018 9:53:00 AM


Ideally these forms are completed during recruitment and nomination of guideline panel members.
Who was it that made the decisions about the SOC members? I would use same group. I assume this
was initially the Board and then the Chairs. The Board should review ours, and then we should
review for the remaining members. We would bring to Board any concerns or issues. All forms need
to be retained on file (assume by Board).
Let me know if you would like to discuss this proposal further.
Thanks,
Karen
From: Eli Coleman [mailto:colem001@umn.edu]
Sent: Tuesday, December 4, 2018 9:28 AM
To: Jon Arcelus <Jon.Arcelus@nottingham.ac.uk>
Cc: Blaine Vella <blaine@wpath.org>; Asa Radix <asa.radix@gmail.com>; Karen Robinson
      REDACTED
<
Subject: Re: SOC8 Disclosure Form
my specialty is psychology; my subspeciality is sexual health.
It is a good question of who to review these.
I am copying Karen to see what she thinks - in terms of who is most appropriate.
It may be that it needs to be someone or others than the exisitng SOC commitee.
On Tue, Dec 4, 2018 at 3:43 AM Jon Arcelus <Jon.Arcelus@nottingham.ac.uk> wrote:

  Thanks Blaine
  I am Ok with it except this question which I don’t understand;
    3.4 Do you have a primary specialty or subspecialty?
  I also don’t know what we are doing with this information? Who is going to review all the
  answers and make the decision?
  Regards
  Jon
  From: Blaine Vella [mailto:blaine@wpath.org]
  Sent: 03 December 2018 17:11
  To: Eli Coleman <colem001@umn.edu>; Jon Arcelus
  <mszja2@exmail.nottingham.ac.uk>; asa.radix@gmail.com
  Cc: WPATH EC <wpathec@wpath.org>
  Subject: SOC8 Disclosure Form
  Good Morning Eli
  Attached is the approved Disclosure Form from the WPATH Board.
  Once you, Asa & Eli have reviewed, I would like to send out to all SOC8 members (chairs,
  leads, members, Karen) and ask for them to send back to me by 12/15/2018.
  Please advise when this is OK to send as well as the message you would like to include with
  it.
  Best
  Blaine

  This message and any attachment are intended solely for the addressee


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  and may contain confidential information. If you have received this
  message in error, please contact the sender and delete the email and
  attachment.
  Any views or opinions expressed by the author of this email do not
  necessarily reflect the views of the University of Nottingham. Email
  communications with the University of Nottingham may be monitored
  where permitted by law.




--
Eli Coleman, PhD
Academic Chair in Sexual Health
Professor and Director




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From:            Karen Robinson
To:              Blaine Vella
Cc:              Eli Coleman; Jon Arcelus; Asa Radix; Donna Kelly
Subject:         RE: updated tracking document
Date:            Thursday, July 12, 2018 1:35:00 PM
Attachments:     EPC-Disclosure Form.pdf


Blaine –
I have attached the form we use for projects through the Evidence-based Practice Center. This is
very detailed – I am not suggesting you need one this intense! This does give you an idea of what
information is collected.
Collection of COI is part of standard of practice for guidelines (assessed with AGREE instrument) and
a IOM Standard (see Standard 2 below and
http://www.nationalacademies.org/hmd/Reports/2011/Clinical-Practice-Guidelines-We-Can-
Trust/Standards.aspx).
STANDARD 2
Management of conflict of interest (COI)
2.1Prior to selection of the Guideline Development Group (GDG), individuals being
   considered for membership should declare all interests and activities potentially resulting
   in COI with development group activity, by written disclosure to those convening the
   GDG.

         Disclosure should reflect all current and planned commercial (including services
         from which a clinician derives a substantial proportion of income), non-
         commercial, intellectual, institutional, and patient/public activities pertinent to the
         potential scope of the CPG.
2.2Disclosure of COIs within GDG

         All COI of each GDG member should be reported and discussed by the prospective
         development group prior to the onset of their work.
         Each panel member should explain how their • COI could influence the CPG
         development process or specific recommendations.
2.3Divestment

        Members of the GDG should divest themselves of financial investments they or
        their family members have in, and not participate in marketing activities or
        advisory boards of, entities whose interests could be affected by CPG
        recommendations.
2.4Exclusions

          Whenever possible GDG members should not have COI.
          In some circumstances, a GDG may not be able to perform its work without
          members who have COIs, such as relevant clinical specialists who receive a
          substantial portion of their incomes from services pertinent to the CPG.
          Members with COIs should represent not more than a minority of the GDG.
          The chair or co-chairs should not be a person(s) with COI.
          Funders should have no role in CPG development.
From: Blaine Vella [mailto:blaine@wpath.org]


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Sent: Thursday, July 12, 2018 1:05 PM
                          REDACTED
To: Karen Robinson <
Cc: Eli Coleman <colem001@umn.edu>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Asa Radix
<asa.radix@gmail.com>; Donna Kelly <donna@veritasmeetingsolutions.com>
Subject: Re: updated tracking document
Thanks Karen
Is there a template document that you have that we could draw from? I have these from the co-
chairs, chapter leads and workgroup members.

Best regards
Blaine
Mrs. Blaine Vella
Associate Director
WPATH
1061 East Main Street, Suite 300 |
East Dundee, IL 60118
Office: 847-752-5328
Fax: 224-633-2166
Email: blaine@wpath.org

                                                    REDACTED
On Jul 12, 2018, at 12:58 PM, Karen Robinson <                     wrote:

      Blaine –
      As noted in the methodology document, disclosures or conflicts of interest should be
      collected from all involved. Typically this is done as members are nominated as
      potential conflicts may cause some to be not selected as members. Collection early
      also facilitates ensuring that there is a balance amongst the group. I didn’t see anything
      in the document you attached about conflicts and it does not contain any disclosures of
      (potential) conflicts. It also seems to be limited to Leads. All Chapter Members, the
      Chairs, and I should complete the COI/DOI.
      Also, on another note of clarification, the language about publishing “as systematic
      reviews” is incorrect. Chapter Leads and members can and should consider publishing a
      background paper, as noted in this document. However, these will not be reports of
      systematic reviews. The ERT may publish separate reports of systematic reviews.
      Thanks,
      Karen
      From: Blaine Vella [mailto:blaine@wpath.org]
      Sent: Thursday, July 12, 2018 12:25 PM
                                  REDACTED
      To: Karen Robinson <                      Eli Coleman <colem001@umn.edu>; Jon
      Arcelus <jon.arcelus@nottingham.ac.uk>; Asa Radix <asa.radix@gmail.com>
      Subject: RE: updated tracking document
      Hi Karen
      Looking at item 2, this is the document that all chapter leads and workgroup members
      have signed. Do you want copies of these? Is there something else you need from
      them?



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   Blaine
                                    REDACTED
   From: Karen Robinson <
   Sent: Thursday, July 12, 2018 12:12 PM
   To: Eli Coleman <colem001@umn.edu>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>;
   Asa Radix <asa.radix@gmail.com>
   Cc: Blaine Vella <blaine@wpath.org>
   Subject: updated tracking document
   Thanks for the call today!
   I have attached an updated tracking document.
   Here are tasks based on call:
        - KR will ask Blaine to set up call with Chapter Leads (start with existing SOC Chair
             calls for schedule)
        - KR will ask Blaine re collection of COI/DOI from Chapter Leads and Members
        - KR will flesh out the process for statements (item 2 on agenda) for review by
             Chairs. This will be provided to the Chapter Leads closer to date of call(s).
        - KR will flesh out template for chapters, including guidance on length and a
             mockup (item #3 on agenda). This will be reviewed by Chairs but not yet
             provided to the Chapter Leads.
        - Chairs will send KR the dates/info for SOC Chair calls and KR will join those, as
             possible.
   Let me know if I have forgotten or misremembered anything.
   I found the call very useful – thanks!
   Karen
   -----------------------
   Karen A. Robinson, PhD
   Director JHU Evidence-based Practice Center
   Associate Professor of Medicine, Epidemiology, and Health Policy and Management
   Johns Hopkins University
                REDACTED
         REDACTED
     REDACTED
      REDACTED




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From:            Karen Robinson
To:              "Eli Coleman"; Jon Arcelus; Asa Radix
Cc:              Blaine Vella; Gail Knudson; "sue@wpath.org"
Subject:         WPATH SOC8: COI policy for guidelines?
Date:            Friday, September 28, 2018 8:55:02 AM


All –
Especially as people argue for more limited consensus processes, noting quite rightly the polarization
of the community, it is imperative that there is a clear and transparent COI policy in place. I have not
yet seen one. What are plans for implementing a COI policy?
Thanks
Karen




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                      Item                          No   Yes   Describe relationship, including name
                                                                       of entity and amount.
2.1 Do you or your partner/spouse or
minor children or dependents own directly
or indirectly (e.g., through a trust or an          ✔
individual account in a pension or profit-
sharing plan) any stocks, bonds or other
financial investments that may in any way
gain or lose financially from SOC8?
2.2 Do you or your partner/spouse or
minor children or dependents hold or are            ✔
you currently applying for any patents
related to the content of SOC8?
2.3 Have you or your partner/spouse or
minor children or dependents received
research grants or contracts (restricted or
                                                         ✔     Funding to support the systematic rev
unrestricted) from an organization that has
interests or activities related to the content of
SOC8?
2.4 Have you or your partner/spouse or
minor children or dependents received
reimbursements, fees or salary from an
organization that has interests or activities             ✔ Reimbursed for travel to WPATH con
related to the content of SOC8? (e.g., as a
board member, advisor, consultant, payment
for manuscript, speakers’ bureaus, travel,
expert testimony)?
2.5 Do you or your partner/spouse or
minor children or dependents have any               ✔
other financial interests related to SOC8?


Part 3. Non-Financial Activities Related to SOC8

                     Item                           No Yes              Describe Interest
3.1 Have you or your partner/spouse or
minor children or dependents ever
                                                    ✔
authored, coauthored, or publicly provided
an opinion related to the topics in SOC8?
3.2 To the best of your knowledge, do
you or your partner/spouse or minor
children or dependents work for, or are             ✔
you a member of an organization with a
stated position (e.g., position statement,




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